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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEOR N SEP 2+ Pfl E: 29
                                           BRUNSWICK DIVISION



              RALPH JAMES MERCADO,

                                 Petitioner,                      CIVIL ACTION NO.: CV208-163

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              UNITED STATES OF AMERICA,                           (Case No.: CR295-6)

                                 Respondent


                         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Ralph Mercado (`Mercado"), who is currently incarcerated at the United States

              Penitentiary, Florence Administrative Maximum Facility in Florence, Colorado, filed a

              Motion entitled "Lack of Jurisdiction Motion Pursuit (sic) to Rule 60(b)". The

              Government filed a Response, and Mercado filed a Reply. For the reasons which

              follow, Mercado's Motion should be DISMISSED.

                                           STATEMENT OF THE CASE

                    Mercado pleaded guilty to one count of bank robbery, in violation of 18 U.S.C. §

              2113(d), and to one count of using a firearm during the commission of a crime of

              violence, in violation of 18 U.S.C. § 924(c). The Honorable Anthony A. Alaimo

              sentenced Mercado to 300 months' imprisonment on the bank robbery count and 60

              months' imprisonment on the firearms count, to be served consecutively, on June 23,

              1995. Mercado filed an appeal, and the Eleventh Circuit Court of Appeals affirmed

              Mercado's sentence in 1997. This Court adopted the Eleventh Circuit's judgment as its



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                   judgment on May 15, 1997. (Case Number CR295-6, Doc. No. 101). On April 6, 1998,

                   Mercado filed a motion for extension of time to file a motion pursuant to 28 U.S.C. §

                   2255. The undersigned denied Mercado's motion by Order dated April 8, 1998, and

                   directed Mercado to file his section 2255 motion within the applicable time limits. (Id. at

                   Doc. No. 104). Mercado did not file a motion to vacate, set aside, or correct his

                   sentence pursuant to § 2255.

                          In this Motion, Mercado contends that the probation officer who prepared his Pre-

                   Sentence Investigation Report ("PSI") committed a fraud on the Court by providing

                   misleading information in the PSI, particularly the prior convictions used to calculate

                   Mercado's criminal history points.

                          The Government asserts that Mercado's motion is an untimely section 2255

                   motion. In the alternative, even if Mercado's motion is considered a Rule 60(b) motion,

                   the Government asserts that this Rule is an improper vehicle in a criminal case and is

                   untimely.

                                         DISCUSSION AND CITATION TO AUTHORITY

                          District courts have an obligation to look behind the label of a pro se inmate's

                   motion to determine whether the motion is "cognizable under a different remedial

                   statutory framework." United States v. Jordan, 915 F.2d 622, 624-25 (11th Cir. 1990).

                   A petitioner seeking to challenge the legality of the imposition of his sentence should

                   seek relief under 28 U.S.C. § 2255. Section 2255 of Title 28 of the United States Code

                   provides:

                               A prisoner in custody under sentence of a court established by
                               Act of Congress claiming the right to be released upon the ground
                               that the sentence was imposed in violation of the Constitution or
                               laws of the United States, or that the court was without jurisdiction


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                               to impose such sentence, or that the sentence was in excess of
                               the maximum authorized by law, or is otherwise subject to
                               collateral attack, may move the court which imposed the sentence
                               to vacate, set aside or correct the sentence.

                   28 U.S.C. § 2255(a). Motions made pursuant to this section are subject to a

                   statute of limitations period. This limitations period runs from the latest of:

                               (1) the date on which the judgment of conviction becomes final;

                               (2) the date on which the impediment to making a motion created
                               by governmental action in violation of the constitution or laws of
                               the United States is removed, if the movant was prevented from
                               making a motion by such governmental action;

                               (3) the date on which the right asserted was initially recognized by
                               the Supreme Court, if that right has been newly recognized by the
                               Supreme Court and made retroactively applicable to cases on
                               collateral review; or

                               (4) the date on which the facts supporting the claim or claims
                               presented could have been discovered through the exercise of
                               due diligence.

                   28 U.S.C. § 2255(f).

                           The Eleventh Circuit affirmed Mercado's convictions and sentences in 1997, and

                   this Court adopted the Eleventh Circuit's judgment on May 15, 1997.1 Mercado had

                   ninety (90) days to file a petition for writ of certiorari with the United States Supreme

                   Court, which he did not do. Su p . CT. R. 13.1. Mercado's conviction became "final" on

                   August 13, 1997, and he had one (1) year to file a timely § 2255 motion, or until August

                   13, 1998. Mercado filed the instant motion on November 26, 2008, more than ten (10)

                   years after the applicable statute of limitations period expired.



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                     The Court's docketing system does not provide a link to the Eleventh Circuit's decision, and thus, the
                    undersigned was not able to determine on what date the Eleventh Circuit affirmed Mercado's convictions
                   and sentences. Accordingly, the undersigned has used the date this Court adopted the Eleventh Circuit's
                   judgment as the statute of limitations triggering event.

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                      The undersigned notes Mercado's assertions that his motion is not a section

              2255 motion, but a motion made pursuant to Rule 60(b), and that the Government has

              mischaracterized his motion. Mercado relies on Zakrzewski v. McDonough, 490 F.3d

              1264 (11th Cir. 2007), in support of these assertions. However, Mercado's reliance on

              Zakrzewski is misplaced. In that case, the Eleventh Circuit determined that a petition

              for writ of habeas corpus, filed pursuant to 28 U.S.C. § 2254, asserting a request for

              relief from a judgment obtained based on a fraud committed on the court was not a

              second or successive habeas corpus petition. Zakrzewski, 490 F.3d at 1267. In

              reaching this holding, the Eleventh Circuit noted that the petition did not assert or

              reassert allegations of error which occurred during his state convictions, and the district

              court erred in concluding that the petitioner's Rule 60(b) motion was a successive

              habeas corpus petition. Id. Mercado has not filed a previous section 2255 motion, and

              this motion should be dismissed as being untimely filed. The holding in Zakrzewski is

              applicable in the context of second or successive habeas corpus petitions, not untimely

              § 2255 motions.2

                      Even if this Court were to consider Mercado's motion as being brought pursuant

              to Rule 60(b), he would not be entitled to his requested relief. The Federal Rules of

              Civil Procedure "govern the procedure in the United States district courts in all suits of a

              civil nature." FED. R. Civ. P. 1. Rule 60(b)(3) provides that a court may relieve a party

              from a final judgment based on fraud, misrepresentation, or other misconduct of an

              adverse party. However, the Eleventh Circuit repeatedly has "held that Rule 60(b) does

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                 The undersigned acknowledges that district courts have a duty to notify a petitioner that his motion is
              being characterized as a section 2255 motion and the procedural constraints applicable to section 2255
              motions. However, if the applicable statute of limitations period already expired by the time the petitioner
              files a collateral attack of his conviction and/or sentence, it is not necessary to inform the petitioner of the
              court's characterization. United States v. Martin, 357 F.3d 1198, 1200 (10th Cir. 2004).

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              not provide for relief from a judgment in a criminal case." United States v. Whisby, 323

              F. App'x 781, at *1(11th Cir. Apr. 17, 2009) (quoting cases). Accordingly, Mercado is

              not entitled to relief pursuant to Rule 60(b).

                                                     CONCLUSION

                     Based on the foregoing, it is my RECOMMENDATION that Mercado's Motion be

              DISMISSED.

                     SO REPORTED and RECOMMENDED, this idayof September, 2009.




                                                               (I1ES E. GRAHAM
                                                               ITED STATES MAGISTRATE JUDGE




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